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                                        #:2627                                ilya@loia.legal




                  Meet and coner re: Rule 11 motion,
                  discovery motion
                  Created by: Ilya Alekseyeff · Your response:   Yes, I'm going



Time                                                                      Guests
1pm‎ - ‎2pm‎‎ (Pacific Time - Los                                            Ilya Alekseyeff
                                                                             derek.bast@wagnerhicks.law
Angeles)                                                                     jkatz@hallgriffin.com
                                                                             jlevota@hscallaw.com
                                                                             mmaurice@imwlaw.com
                                                                             nbisharat@orsusgate.com
Date                                                                         rthomason@hallgriffin.com
Thu Aug 25, 2022                                                             sean.wagner@wagnerhicks.law



Description
A conference to discuss Elizarov's Rule 11 sanctions
motion and Rule 37 motion to compel. I have
included all counsel on the request. Ryan, Jeremy,
and Nabil, you are welcome to join or not at your
discretion.


My Notes




                                                                                        Exhibit SS
